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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY



    IN RE AURORA CANNABIS INC.                            No. 19-cv-20588-JMV-JBC
    SECURITIES LITIGATION                                 Hon. John M. Vazquez, U.S.D.J.

    This Document Relates To:
          ALL ACTIONS.



                     REQUEST BY LOCAL COUNSEL FOR PRO HAC VICE
                    ATTORNEY TO RECEIVE ELECTRONIC NOTIFICATION

           Request is hereby made by local counsel for pro hac vice counsel to receive electronic

notification in the within matter, and it is represented that:

                    1.      The Court entered an Order on March 5, 2020, admitting Howard S. Suskin

                            to appear pro hac vice in Warren v. Aurora Cannabis, Inc., 2:20-cv-00555-

                            JMV-JBC, which was consolidated with this case on July 23, 2020; and




†
    Application for admission pro hac vice forthcoming.
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            2.   The Admission Fee, in the amount of $150, pursuant to L. Civ. R.

                 101.1(c)(3), has been paid to the Clerk of the Court.




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